                Case 2:12-cr-00082-APG-VCF                     Document 48         Filed 04/25/12       Page 1 of 1

AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing



                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                             District of Nevada

                  United States of America                           )
                             v.                                      )      Case No.            2:12-cr-082-JCM-VCF
                                                                     )
                       Michael Sabicer,                              )
                             Defendant                               )

                                                           DETENTION HEARING



          A continued detention hearing on the Government’s Motion to Detain in this case is scheduled as follows:

          Lloyd D. George Federal Courthouse
Place:                                                                      Courtroom No.:      3D
          333 Las Vegas Boulevard South
          Las Vegas, Nevada 89101                                                               Friday, April 27, 2012,
          Before the Honorable Magistrate Judge Cam Ferenbach               Date and Time:
                                                                                                at 3:00 p.m.

        IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:         Apr 25, 2012
                                                                                               Judge’s signature

                                                                                          CAM FERENBACH
                                                                                  UNITED STATES MAGISTRATE JUDGE
                                                                                             Printed name and title
